   Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                Page 1 of 12 PageID 92



                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

CINDA LEE LOVATO, individually, on  §
Behalf of all wrongful death beneficiaries,
                                    §
And on behalf of the ESTATE OF      §
DANIEL LUIS MARTINEZ, and           §
MARK MARTINEZ, individually,        §
       Plaintiffs,                  §
                                    §
v.                                  §
                                    §
AMY HITCHCOCK, TANNER VANOVER, §
JARED RICE, B. HOWARD, S. SHOOK,    §                CIVIL ACTION NO. 2:20-CV-00070-Z-BR
BRIAN THOMAS, and LISA DAWSON,      §
in their individual capacities, and §
POTTER COUNTY, TEXAS,               §
         Defendants.                §


      DEFENDANTS AMY HITCHCOCK, TANNER VANOVER, JARED RICE,
     BRETT HOWARD, AND SARA SHOOK’S MOTION AND BRIEF TO DISMISS
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)



                                              Respectfully submitted,

                                              /s/ Matt D. Matzner
                                              MATT D. MATZNER
                                              Texas Bar No. 00797022
                                              MORGAN DAY VAUGHAN
                                              Texas Bar No. 24060769
                                              CRENSHAW, DUPREE & MILAM, L.L.P.
                                              P.O. Box 64479
                                              Lubbock, Texas 79464-4479
                                              Telephone: (806) 762-5281
                                              Facsimile: (806) 762-3510
                                              mmatzner@cdmlaw.com
                                              mvaughan@cdmlaw.com
                                              Counsel for Defendants
                                              Amy Hitchcock, Tanner Vanover, Jared Rice,
                                              Brett Howard, and Sara Shook




648494v.1
      Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                                              Page 2 of 12 PageID 93



                                                        TABLE OF CONTENTS

Table of Contents ............................................................................................................................ ii

Table of Authorities ....................................................................................................................... iii

I.      Summary .................................................................................................................................1

II.     Background .............................................................................................................................1

III. Standards of Review ...............................................................................................................2

IV. Plaintiffs’ Claims Based on Negligence and Gross Negligence Must Be Dismissed.............4

V.      Plaintiffs’ Conditions of Confinement Claims Against the Individual Defendants
        Must Be Dismissed ................................................................................................................ 5

VI. Conclusion ..............................................................................................................................7

Certificate of Service .......................................................................................................................8




                                                                       ii
648494v.1
    Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                                            Page 3 of 12 PageID 94



                                                   TABLE OF AUTHORITIES



Cases                                                                                                                               Page

Ashcroft v. Iqbal,
  556 U.S. 662, 129 S. Ct. 1937 (2009) ......................................................................................... 3

Bell Atl. Corp. v. Twombly,
  550 U.S. 544, 127 S. Ct. 1955 (2007) ......................................................................................... 3

Bell v. Wolfish,
  441 U.S. 520 (1979) .................................................................................................................... 6

Blackburn v. City of Marshall,
  42 F.3d 925 (5th Cir. 1995) ........................................................................................................ 3

City of Canton v. Harris,
  489 U.S. 378 (1989) .................................................................................................................... 5

Crowe v. Henry,
  43 F.3d 198 (5th Cir. 1995) ........................................................................................................ 2

Doe v. Taylor Indep. Sch. Dist.,
  15 F.3d 443 (5th Cir. 1994) ........................................................................................................ 5

Encompass Office Sols., Inc. v. Connecticut Gen. Life Ins. Co., 3:11-CV-02487-L,
  2013 WL 1194392 (N.D. Tex. Mar. 25, 2013) ........................................................................... 3

Estate of Henson,
  795 F.3d 463 (5th Cir. 2015) ...................................................................................................... 6

Flores v. Cty. of Hardeman, Tex.,
  124 F.3d 736 (5th Cir. 1997) ...................................................................................................... 6

Garrett v. Commonwealth Mortg. Corp. of America,
  938 F.2d 591 (5th Cir. 1991) ...................................................................................................... 3

Gonzalez v. Kay,
  577 F.3d 600 (5th Cir. 2009) ...................................................................................................... 3

Hare v. City of Corinth,
  74 F.3d 633 (5th Cir. 1996) ........................................................................................................ 5

Harvey v. Jones,
  No. 15-CV-2279, 2015 WL 9687841 (W.D. La. Nov. 16, 2015) ............................................... 5

                                                                    iii
648494v.1
    Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                                             Page 4 of 12 PageID 95




Huggins Realty, Inc. v. FNC, Inc.,
  634 F.3d 787 (5th Cir. 2011) ...................................................................................................... 3

Lovelace v. Software Spectrum Inc.,
  78 F.3d 1015 (5th Cir. 1996) ...................................................................................................... 2

Scott v. Moore,
  114 F.3d 51 (5th Cir. 1997) .................................................................................................... 5, 6

Sullivan v. Leor Energy, LLC,
  600 F.3d 542 (5th Cir. 2010) ...................................................................................................... 2

Varnado v. Lynaugh,
  920 F.2d 320 (5th Cir. 1991) ...................................................................................................... 5
Statutes

42 U.S.C. § 1983 ..................................................................................................................... 1, 2, 5
Rules

FED. R. CIV. P. 12(b)(6) ...................................................................................................... 1, 2, 3, 7




                                                                     iv
648494v.1
    Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                             Page 5 of 12 PageID 96



       DEFENDANTS AMY HITCHCOCK, TANNER VANOVER, JARED RICE,
     BRETT HOWARD, AND SARA SHOOK’S MOTION AND BRIEF TO DISMISS
         PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

TO THE HONORABLE UNITED STATES DISTRICT JUDGE, MATTHEW J. KACSMARYK:

         COME NOW Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and

Sara Shook and file their Motion and Brief to Dismiss Pursuant to Federal Rule of Civil Procedure

12(b)(6), and in support thereof would show the Court as follows:

                                                          I.
                                                    SUMMARY

         The Plaintiffs’ non-deliberate indifference allegations against Defendants Amy Hitchcock,

Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook must be dismissed because they are

based on an improper standard for holding them liable under 42 U.S.C. § 1983. Similarly, they

cannot be the basis for imposing Title II liability under the Americans with Disabilities Act

(“ADA”) and the Rehabilitation Act of 1973 (“RA”) on their employer, Potter County.

Additionally, the claims based upon conditions of confinement must be dismissed because this is

an episodic acts or omissions case, not a conditions of confinement case as plead.

                                                      II.
                                                  BACKGROUND

         The Plaintiffs allege that their son, Daniel Luis Martinez, died as a result of suicide while

he was a pre-trial detainee in the Potter County Detention Center. Daniel Luis Martinez was

booked into the Potter County Detention Center on April 23, 2018. On May 1, 2018, Daniel Luis

Martinez committed suicide in the Potter County Detention Center.1


1
 The Plaintiffs’ Complaint omits the date of death of Daniel Luis Martinez. The date of death according to all sources
was      May     1,   2018.          See      MyHighPlains      news     article   regarding      autopsy      results:
https://www.myhighplains.com/news/local/preliminary-autopsy-results-released-after-potter-county-inmate-
death/1159967327/ (last visited April 11, 2020).
______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 1

648494v.1
   Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                        Page 6 of 12 PageID 97



        The Plaintiffs allege that Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett

Howard, and Sara Shook all failed to take proper care of Daniel Luis Martinez, deceased, when he

was in the Potter County Detention Center. Specifically, the Plaintiffs allege claims for denial of

medical attention and conditions of confinement against the individual defendants. See Pls.’

Compl. at ¶¶ 92-101. The Plaintiffs seek to hold these individuals liable pursuant to 42 U.S.C. §

1983, alleging that they were deliberately indifferent to the medical needs of Daniel Luis Martinez,

deceased. However, the Plaintiffs also make allegations that each engaged in conduct which is not

actionable. Therefore, to the extent that the Plaintiffs attempt to hold the individuals to a standard

of conduct which is not recognized by the Fifth Circuit or the U.S. Supreme Court, the individual

Defendants move to dismiss those allegations/claims. Alternatively, they seek to have the improper

allegations stricken.

                                                    III.
                                         STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(b)(6) allows a court to dismiss a suit where a plaintiff

has failed to state a claim upon which relief can be granted. See FED. R. CIV. P. 12(b)(6). A motion

to dismiss for failure to state a claim admits the facts alleged in the complaint but challenges the

plaintiff’s right to any relief based on those facts. See Crowe v. Henry, 43 F.3d 198, 203 (5th Cir.

1995). In reviewing a motion to dismiss, a court must consider the plaintiff’s complaint, accepting

all well-pleaded facts as true and viewing those facts in a light most favorable to the plaintiff. See

Sullivan v. Leor Energy, LLC, 600 F.3d 542, 546 (5th Cir. 2010). In deciding a motion to dismiss

for failure to state a claim, courts must limit their inquiry to the facts stated in the complaint and

the documents either attached to or incorporated in the complaint. See Lovelace v. Software

Spectrum Inc., 78 F.3d 1015, 1017 (5th Cir. 1996).

______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 2

648494v.1
   Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                        Page 7 of 12 PageID 98



        To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” See Gonzalez v.

Kay, 577 F.3d 600, 603 (5th Cir. 2009), cert. denied, 130 S. Ct. 1505 (2010) (citing Ashcroft v.

Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949-50 (2009)). “A claim for relief is plausible on its

face when the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” See Huggins Realty, Inc. v. FNC, Inc.,

634 F.3d 787, 796 (5th Cir. 2011) (citing and quoting Iqbal, 556 U.S. at 678) (internal quotations

omitted). “Factual allegations must be enough to raise a right to relief above the speculative level.”

See Gonzalez, 577 F.3d at 603 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct.

1955 (2007)). Although detailed factual allegations are not required to avoid dismissal under Rule

12(b)(6), a plaintiff must provide more than “bare assertions” and “conclusory” allegations that

are nothing more than a “formulaic recitation of the elements of a cause of action.” See Iqbal, 556

U.S. at 681 (citing Twombly, 550 U.S. at 554-55). While well-pleaded facts of a complaint are to

be accepted as true, a plaintiff’s conclusory allegations and legal conclusions are not entitled to

the assumption of truth. See Iqbal, 556 U.S. at 678-79 (citation omitted); Encompass Office Sols.,

Inc. v. Connecticut Gen. Life Ins. Co., 3:11-CV-02487-L, 2013 WL 1194392, *4 (N.D. Tex. Mar.

25, 2013) (citing Iqbal, 556 U.S. at 681).

        Dismissal is warranted “if the complaint lacks an allegation regarding a required element

necessary to obtain relief.” See Blackburn v. City of Marshall, 42 F.3d 925, 931 (5th Cir. 1995).

Furthermore, a dismissal under Rule 12(b)(6) is proper when “an affirmative defense or other bar

to relief appears on the face of the complaint.” See Garrett v. Commonwealth Mortg. Corp. of

America, 938 F.2d 591, 594 (5th Cir. 1991).


______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 3

648494v.1
   Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                        Page 8 of 12 PageID 99



                                                    IV.
PLAINTIFFS’ CLAIMS BASED ON NEGLIGENCE AND GROSS NEGLIGENCE MUST BE DISMISSED

        The Plaintiffs allege that the individual defendants “deliberately disregarded Martinez’s

extremely high risk of suicide,” and “Defendants were deliberately indifferent to Martinez’s

serious medical needs.” See Pls.’ Compl. at ¶¶ 93, 99. These claims form the basis of the

Plaintiffs’ claims for denial of medical attention and conditions of confinement against the

individual defendants. However, the Complaint also makes allegations akin to negligence and

gross negligence against the individual defendants on these two claims. These allegations of

negligence and gross negligence are not sufficient to plead the requisite legally culpable standard

of deliberate indifference in this lawsuit. For example, the Plaintiffs allege:

        ◊ “Any reasonable jailer would know that a person who is formulating a plan to commit
          suicide is at a high risk of suicide, immediate risk of suicide, and that protective
          measures must be instituted to immediately save the detainee’s life.” See Pls.’ Compl.
          at ¶ 34.

        ◊ “Despite knowing these glaring warning signs, Shook and Howard placed Martinez in a
          cell that was known to be dangerous for a person at high risk of suicide, rather than a
          cell that would minimize suicide risk.” See Pls.’ Compl. at ¶ 35.

        ◊ “Inexplicably, Shook and Howard did not even confiscate Martinez’s bedding or jail
            uniform – common-sense and well-established suicide risk precautions that Martinez
            obviously needed.” See Pls.’ Compl. at ¶ 38.

        ◊ “In reality, all Defendants knew Martinez needed to be observed constantly until a
           psychiatric provider assessed him and determined he was no longer at immediate risk
           of suicide. Without this accommodation, a suicidal detainee like Martinez was likely
           to suffer more pain and punishment than a detainee who did not suffer from a mental
           disability….” See Pls.’ Compl. at ¶ 51.

        ◊ “All Defendants, including Thomas and Dawson, knew this was a recurring
           problem…but failed to adequately staff the jail or take other measures….” See Pls.’
           Compl. at ¶ 57. (emphasis added).

        ◊ “Rice disregarded Martinez’s known risk of suicide by failing to observe the video
           monitor which showed Martinez dying of suicide….” See Pls.’ Compl. at ¶ 95.

______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 4

648494v.1
  Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                        Page 9 of 12 PageID 100



        ◊ “[E]ach [individual defendant] disregarded the risk.” See Pls.’ Compl. at ¶ 99.

        ◊ Potter County “failed to provide adequate training . . . .” See Pls.’ Compl. at ¶ 106.
           (emphasis added).

        ◊ Despite this knowledge, however, Potter County “failed to provide appropriate training
           . . . .” See Pls.’ Compl. at ¶ 108. (emphasis added).

        Negligence and gross negligence are not actionable under 42 U.S.C. § 1983. Cf. Doe v.

Taylor Indep. Sch. Dist., 15 F.3d 443, 453 (5th Cir. 1994) (stating that “the Supreme Court rejected

the gross negligence standard of liability in favor of the stricter deliberate indifference standard.”)

(citing City of Canton v. Harris, 489 U.S. 378, 381 (1989)) (footnote omitted); Harvey v. Jones,

No. 15-CV-2279, 2015 WL 9687841, at *2 (W.D. La. Nov. 16, 2015) (“Negligence, neglect, or

medical malpractice do not constitute deliberate indifference.”) (citing Varnado v. Lynaugh, 920

F.2d 320, 321 (5th Cir. 1991), report and recommendation adopted, No. 15-CV-2279, 2016 WL

112713 (W.D. La. Jan. 8, 2016). The claim against Jared Rice for failing to observe the video

monitor makes clear that the denial of medical attention claim against him is facially invalid and

not properly plead because there are no facts plead which allege his personal involvement in the

denial of medical care. Claims against all of the individual defendants based upon negligence or

gross negligence should be dismissed or stricken from the Plaintiffs’ Complaint.

                                         V.
        PLAINTIFFS’ CONDITIONS OF CONFINEMENT CLAIMS AGAINST THE INDIVIDUAL
                            DEFENDANTS MUST BE DISMISSED

        A challenge to a condition of confinement is a challenge to general conditions, practices,

rules or restrictions of pretrial confinement. Hare v. City of Corinth, 74 F.3d 633, 644 (5th Cir.

1996) (en banc). In conditions of confinement cases it is the conditions themselves that constitute

the harm. Scott v. Moore, 114 F.3d 51, 53 (5th Cir. 1997). These are conditions such as

“inadequate food, heating, or sanitary conditions themselves [that] constitute miserable
______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 5

648494v.1
  Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                       Page 10 of 12 PageID 101



conditions.” These cases are very different from acts-or-omissions cases where “an actor usually

is interposed between the detainee and the municipality, such that the detainee complains first of

a particular act of, or omission by, the actor and then points derivatively to a policy, custom, or

rule (or lack thereof) of the municipality that permitted or caused the act or omission.” Id. In

conditions of confinement cases the test applied under Bell v. Wolfish, is if the conditions amount

to punishment of the detainee and if so, if the conditions were imposed to punish or were incident

to some other legitimate governmental purpose. Bell v. Wolfish, 441 U.S. 520, 535 (1979).

        The focus of the Plaintiffs’ Complaint is on the actions of officials at the Potter County

Detention Center in relationship to the decedent. The actions, or alleged inaction and/or alleged

inappropriate actions, comprise the root of the Plaintiffs’ complaints against Defendants. Scott v.

Moore, 114 F.3d at 53 (holding in sexual assault of a detainee case that the action is characterized

as an episodic act or omission case where harm complained of is an act or omission of one or more

officials); Flores v. Cty. of Hardeman, Tex. 124 F.3d 736, 737 (5th Cir. 1997) (holding that a case

involving complaints about particular acts of deputies in an inmate suicide case constitute an act

or omission case). The Plaintiffs have attempted to cast their claims as conditions of confinement

in this case in order to avoid the high standard of proving deliberate indifference. Because

intentionality must be established in episodic-acts-or-omissions case, those claims require proof

that a jail official violated the pretrial detainee’s constitutional rights because “the official had

‘subjective knowledge of a substantial risk of serious harm’ to the detainee and responded to that

risk with deliberate indifference.” Estate of Henson, 795 F.3d 463, 464 (5th Cir. 2015). Officials

must know of and disregard an excessive risk to inmate health and safety in episodic-acts or-

omissions cases. Id.


______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 6

648494v.1
  Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                       Page 11 of 12 PageID 102



        Because the nature of the Plaintiffs’ complaints in this case this case are not truly about the

conditions of confinement at the Potter County Detention Center, and are instead claims about the

specific interactions of officials in relationship to the decedent, the conditions of confinement

claims must be dismissed against the individual defendants.

                                                 VI.
                                              CONCLUSION

        Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook

respectfully request that the Court grant this motion and dismiss the improperly plead claims based

on negligence and gross negligence against them pursuant to Federal Rule of Civil Procedure

12(b)(6). Additionally, the claims asserted against Defendants Amy Hitchcock, Tanner Vanover,

Jared Rice, Brett Howard, and Sara Shook for conditions of confinement are not properly plead

because they relate to the specific actions and/or the alleged inaction of the defendants rather than

general conditions at the Potter County Detention Center. With regard to any claims the Court

construes to be episodic acts or omissions the Defendants assert that the Plaintiffs have failed to

properly plead the requisite deliberate indifference standard.

        WHEREFORE, PREMISES CONSIDERED, Defendants Amy Hitchcock, Tanner

Vanover, Jared Rice, Brett Howard, and Sara Shook request that the Court grant its Motion to

Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) and dismiss the improperly plead

claims against them.




______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 7

648494v.1
  Case 2:20-cv-00070-BR Document 8 Filed 04/14/20                       Page 12 of 12 PageID 103



                                                  Respectfully submitted,

                                                  /s/ Matt D. Matzner
                                                  MATT D. MATZNER
                                                  Texas Bar No. 00797022
                                                  MORGAN DAY VAUGHAN
                                                  Texas Bar No. 24060769
                                                  CRENSHAW, DUPREE & MILAM, L.L.P.
                                                  P.O. Box 64479
                                                  Lubbock, Texas 79464-4479
                                                  Telephone: (806) 762-5281
                                                  Facsimile: (806) 762-3510
                                                  mmatzner@cdmlaw.com
                                                  mvaughan@cdmlaw.com
                                                  Counsel for Defendants
                                                  Amy Hitchcock and Sara Shook


                                   CERTIFICATE OF SERVICE

       A true and correct copy of the above and foregoing was on this 14th day of April, 2020,
served as follows:

 VIA ECF                                                   VIA ECF
 Jeff Edwards                                              Jeff Blackburn
 Scott Medlock                                             Blackburn and Brown, LLP
 David James                                               718 S.W. 16th Avenue
 EDWARDS LAW                                               Amarillo, Texas 79101
 The Haehnel Building                                      blackburn@blackburnbrownlaw.com
 1101 E. 11th Street                                       Local Counsel for Plaintiffs
 Austin, Texas 78702
 jeff@edwards-law.com; scott@edwards-law.com;
 david@edwards-law.com
 Lead Counsel for Plaintiffs


                                                  /s/ Matt D. Matzner
                                                  OF COUNSEL




______________________________________________________________________________
Defendants Amy Hitchcock, Tanner Vanover, Jared Rice, Brett Howard, and Sara Shook’s Motion and Brief to
Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)                                           Page 8

648494v.1
